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                                    EXHIBIT A

                            Liquidating Trust Agreement




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                           LIQUIDATING TRUST AGREEMENT


        This Liquidating Trust Agreement (as it may be amended, modified, supplemented or
restated from time to time, this “Agreement”) dated as of [●], 2023 is made and entered into by
and among (a) the entities listed as “Debtors” on the signature pages hereto, each a debtor and
debtor-in-possession (collectively, the “Debtors”) in the jointly administered Chapter 11 cases
(the “Cases”) pending in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) under Case Number 23-10207 (TMH) and (b) Bradley Dietz, solely in his
capacity as liquidating trustee for purposes of this Agreement (together with any successor
liquidating trustee appointed under the terms hereof, the “Liquidating Trustee”). All capitalized
terms used but not otherwise defined herein shall have the respective meanings ascribed to them
in the Plan (as hereinafter defined).

       WHEREAS, the Cases were commenced on February 16, 2023 (the “Petition Date”) by
the Debtors filing voluntary petitions under Chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) in the Bankruptcy Court;

        WHEREAS, as of the Petition Date, the Debtors were parties to that certain Financing
Agreement, dated as of May 2, 2017 (as subsequently amended, modified or supplemented from
time to time, the “Financing Agreement”), with Cerberus Business Finance, LLC, solely in its
capacity as administrative agent and collateral agent (the “Prepetition Agent”) for certain
revolver and term loan lenders party thereto from time to time which were secured by first-
priority liens on substantially all of the Debtors’ assets;

        WHEREAS, on March 6, 2023, the United States Trustee for Region 3 (the “US
Trustee”) appointed the official committee of unsecured creditors in the Cases pursuant to
section 1102 of the Bankruptcy Code (the “Committee”);

       WHEREAS, on July 11, 2023, the Bankruptcy Court entered an order (the “Sale Order”)
[Docket No. 443] which, among other things, approved the sale of the Purchased Assets (as
defined in the Asset Purchase Agreement) and a term sheet agreement (the “Term Sheet”)
between the Committee and the Prepetition Agent;

       WHEREAS, on September 25, 2023, the Committee, filed a Combined Disclosure
Statement and Plan of Liquidation pursuant to Chapter 11 of the Bankruptcy Code (as amended,
modified, supplemented or restated from time to time, the “Plan”) which is consistent with the
Term Sheet;

       WHEREAS, on [●], 2023, the Bankruptcy Court entered an order confirming the Plan
(the “Confirmation Order”);

        WHEREAS, the Sale Order, the Plan and the Confirmation Order provide for the
establishment of this Agreement and the appointment of the Liquidating Trustee to administer
Distributions in accordance with the Plan, and to provide administrative services relating to the
Plan’s implementation;




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       WHEREAS, the Liquidating Trust (as hereinafter defined) is established pursuant to the
Plan and this Agreement as a liquidating trust in accordance with Treasury Regulation section
301.7701-4(d) for the sole purpose of liquidating the Trust Assets (as hereinafter defined), with
no objective to continue or engage in the conduct of a trade or business except, to the extent
reasonably necessary to, and consistent with, the liquidating purpose of the Liquidating Trust and
the Plan;

       WHEREAS, the Liquidating Trust is established for the purpose of (a) monetizing the
Liquidating Trust Assets and distributing the Liquidating Trust Assets for the benefit of the
holders of Allowed General Unsecured Claims, the Cerberus Deficiency Claim, and the Allowed
Convenience Class Claims (collectively, the “Liquidating Trust Beneficiaries”) and (b) paying
Allowed Administrative Expenses, Allowed Priority Tax Claims, Allowed Priority Non-Tax
Claims and Allowed Secured Claims (the Claims listed in this clause (b), the “Other Allowed
Claims”), in each case to the extent required by the Plan; and

        WHEREAS, the Liquidating Trust is intended to qualify as a “grantor trust” for US
federal income tax purposes pursuant to sections 671-677 of the Internal Revenue Code, with the
Liquidating Trust Beneficiaries treated as the grantors and owners of the Liquidating Trust.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein and in the Plan, the Debtors and the Liquidating Trustee agree that the
Liquidating Trust shall be comprised, held and disposed of as follows:

                                       Declaration of Trust


       The Debtors and the Liquidating Trustee enter into this Agreement to effectuate the
Distribution of all Liquidating Trust Assets (together with all other property held from time to
time by the Liquidating Trust under this Agreement and any proceeds thereof and earnings
thereon, collectively, “Trust Assets”) to the holders of Allowed Claims pursuant to the Plan and
the Confirmation Order;

       Pursuant to section 6.01(d) of the Plan, paragraph[s] [●] of the Confirmation Order, and
Section 2.03, all right, title, and interest in, under, and to the Trust Assets shall be absolutely and
irrevocably assigned to the Liquidating Trust and to its successors in trust and its successors and
assigns;

         TO HAVE AND TO HOLD unto the Liquidating Trustee and its successors in trust; and

        IT IS HEREBY FURTHER COVENANTED AND DECLARED, that the Trust Assets
are to be held by the Liquidating Trust and applied on behalf of the Liquidating Trust by the
Liquidating Trustee on the terms and conditions set forth herein and in the Plan, solely for the
benefit of the holders of Allowed Claims and for no other party.




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                                          ARTICLE I
                           Recitals, Definitions, and Interpretations

      Section 1.01 Recitals. The Recitals are incorporated into and made terms of this
Agreement.

        Section 1.02 Plan Definitions. All terms used in this Agreement but not defined herein
shall have the same meanings set forth in the Plan.

        Section 1.03 Interpretation, Headings. In this Agreement, except to the extent the
context otherwise requires, (a) reference to any Section, Article, subsection, clause, Schedule,
Exhibit, preamble or recital, is to that such Section, Article, subsection, clause, Schedule,
Exhibit, preamble or recital under this Agreement, (b) the words “hereof,” “herein,” and similar
terms shall refer to this Agreement and not to any particular section or article of this Agreement,
(c) references to any document or agreement, including this Agreement, shall be deemed to
include references to such document or agreement as amended, supplemented, replaced or
restated from time to time in accordance with its terms and subject to compliance with any
requirements set forth therein, (d) references to any law, statute, rule, regulation or form
(including in the definition thereof) shall be deemed to include references to such statute, rule,
regulation or form as amended, modified, supplemented or replaced from time to time (and, in
the case of any statute, include any rules and regulations promulgated under such statute), and all
references to any section of any statute, rule, regulation or form include any successor to such
section, (e) references to any party hereto shall include its successors and permitted assigns, (f)
wherever the word “include,” “includes” or “including” is used herein, it shall be deemed to be
followed by the words “without limitation,” and any list of examples following such term shall in
no way restrict or limit the generality of the word or provision with respect to which such
examples are provided, (g) the words “shall” and “will” are used interchangeably throughout this
Agreement, and the use of either connotes a mandatory requirement, (h) the word “or” is not
meant to be exclusive, and shall be interpreted as “and/or”, (i) references to “day” or “days” are
references to calendar days, (j) the terms “Dollars” and “$” mean United States Dollars, (k)
whenever the context requires, terms shall include the plural as well as the singular number, the
masculine gender shall include the feminine, and the feminine gender shall include the masculine
and (l) references to any time periods herein that are initiated by the receipt of a notice shall be
deemed not to include the date such notice is received in the calculation of such time period. The
headings in this Agreement are for convenience of reference only and shall not limit or otherwise
affect the provisions of this Agreement.

        Section 1.04 Conflict Among Documents. In the event of any inconsistency between
Article VI of the Plan (or provisions in the Confirmation Order related to thereto) and this
Agreement, this Agreement shall control and take precedence, except section 6.05 of the Plan
shall prevail. In the event of any inconsistency between the Plan or Confirmation Order (other
than as those documents relate to Article VI of the Plan), as applicable, on the one hand, and this
Agreement, on the other hand, the Plan or Confirmation Order, as applicable, shall control and
take precedence. This Agreement shall not be construed to impair or limit in any way the rights
of any Person under the Plan.

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                                           ARTICLE II
                                       Establishment of Trust

       Section 2.01 Effectiveness of Agreement; Name of Trust. This Agreement shall
become effective on the Effective Date. The liquidating trust established by this Agreement shall
be officially known as, and may conduct its affairs under the name of, the “SL Liquidating
Trust” and, is herein referred to as, the “Liquidating Trust”.

        Section 2.02 Purpose of Trust. The Debtors and the Liquidating Trustee, pursuant to
the Plan and in accordance with the Bankruptcy Code, hereby create the Liquidating Trust for the
purpose of (a) monetizing the Trust Assets and distributing the Trust Assets for the benefit of the
Liquidating Trust Beneficiaries and (b) paying the Other Allowed Claims, in each case in
accordance with the terms and conditions of this Agreement and the Plan, and with no objective
to continue or engage in the conduct of a trade or business, except to the extent reasonably
necessary to, and consistent with, the liquidating purpose of the Liquidating Trust set forth in the
Plan.

         Section 2.03 Transfer of Trust Assets.

                 (a)      Conveyance of Trust Assets. The Debtors hereby grant, release, assign,
         transfer, convey, vest and deliver, for the benefit of the Liquidating Trust Beneficiaries
         and holders of Other Allowed Claims, the Trust Assets to the Liquidating Trust as of the
         Effective Date in trust for the benefit of the Liquidating Trust Beneficiaries and holders
         of Other Allowed Claims to be administered and applied as specified in this Agreement
         and the Plan, including the right to receive the Initial Distribution Fund and the Trust
         Funding Amount (as defined in the Term Sheet) in accordance with the Term Sheet.
         None of the Debtors shall have any further (i) obligations with respect to the Allowed
         Claims under the Plan or the distribution or payment of any proceeds of the Trust Assets
         to any of the Liquidating Trust Beneficiaries upon the transfer of the Trust Assets to the
         Liquidating Trust in accordance with this Agreement and the Plan or (ii) interest in or
         with respect to any of the Trust Assets or the Liquidating Trust. None of the foregoing
         transfers to the Liquidating Trust shall constitute a merger or consolidation of any of the
         respective Causes of Action, each of which shall retain its separateness following the
         transfer for all purposes relevant to the prosecution thereof.

                 (b)      Title to Trust Assets. Pursuant to the Plan, all of the Debtors’ right, title,
         and interest in and to the Trust Assets, including all such assets held or controlled by
         third parties, are automatically vested in the Liquidating Trust on the Effective Date, free
         and clear of all liens, claims, encumbrances, and other interests, except as specifically
         provided in the Plan, and such transfer is on behalf of the holders of Claims to establish
         the Liquidating Trust. The Liquidating Trust shall be authorized to obtain possession or
         control of, liquidate, and collect all of the Trust Assets in the possession or control of
         third parties and pursue all of the Causes of Action, other than Waived Claims. On the
         Effective Date, the Liquidating Trust shall stand in the shoes of the Debtors for all
         purposes with respect to the Trust Assets (including the prosecution of Causes of Action

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         that constitute Trust Assets) and administration of the Claims. To the extent any law,
         contractual term or regulation prohibits the transfer of ownership of any of the Trust
         Assets from the Debtors to the Liquidating Trust and such law, contractual term or
         regulation is not superseded by the Bankruptcy Code, the Liquidating Trust’s interest
         shall be a lien upon and security interest in such Trust Assets, in trust, nevertheless, for
         the sole use and purposes set forth in Section 2.02, and this Agreement shall be deemed a
         security agreement granting such interest thereon, fully perfected without need to file
         financing statements or mortgages. By executing this Agreement, the Liquidating Trustee
         on behalf of the Liquidating Trust hereby accepts all of such property as Trust Assets, to
         be held in trust for the holders of Claims, subject to the terms of this Agreement and the
         Plan.

                  (c)    Capacity and Nature of Trust. Notwithstanding any state or federal law to
         the contrary or anything herein, the Liquidating Trust itself shall have the capacity, in its
         own right and name, to act or refrain from acting, including the capacity to sue and be
         sued and to enter into contracts. The Liquidating Trust may alone be the named movant,
         respondent, party plaintiff or defendant, or the like in all adversary proceedings,
         contested matters, and other state or federal proceedings brought by or against it, and may
         settle and compromise all such matters in its own name. The Liquidating Trust is
         irrevocable but subject to amendment and waiver as provided in this Agreement. The
         Liquidating Trust is not intended to be, and shall not be deemed to be or treated as, a
         general partnership, limited partnership, limited liability partnership, joint venture,
         corporation, limited liability company, joint stock company or association, nor shall the
         Liquidating Trustee, or the Liquidating Trust Beneficiaries, or any of them, for any
         purpose be, or be deemed to be or treated in any way whatsoever to be, liable or
         responsible hereunder as partners or joint venturers. The relationship of the Liquidating
         Trust Beneficiaries, on the one hand, to the Liquidating Trust and the Liquidating
         Trustee, on the other hand, shall not be deemed a principal or agency relationship, and
         their rights shall be limited to those conferred upon them by this Agreement, the Plan and
         the Confirmation Order.

                 (d)    No Retention of Excess Cash. Notwithstanding anything in this
         Agreement to the contrary, under no circumstances shall the Liquidating Trust, the
         Debtors or the Liquidating Trustee retain Cash in excess of a reasonable amount to meet
         claims, expenses, and contingent liabilities or to maintain the value of the Trust Assets
         during liquidation other than reserves established pursuant to Section 4.01(b), and,
         subject to Article VIII, shall distribute or pay all amounts not required to be retained for
         such purposes to the holders of Allowed Claims as promptly as reasonably practicable in
         accordance with the Plan and this Agreement.

                 (e)   Acceptance by the Liquidating Trustee. The Liquidating Trustee accepts
         its appointment as Liquidating Trustee of the Liquidating Trust.




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                                         ARTICLE III
                                      Trust Administration

        Section 3.01 Rights, Powers, and Privileges of the Liquidating Trustee Generally.
Except as otherwise provided in this Agreement (including Article VIII), the Plan, or the
Confirmation Order, as of the date that the Trust Assets are transferred to the Liquidating Trust,
the Liquidating Trustee on behalf of the Liquidating Trust may control and exercise authority
over the Trust Assets, over the acquisition, management, and disposition thereof, and over the
management and conduct of the affairs of the Liquidating Trust. In connection therewith, and
subject to the limitations of Article VIII, the Liquidating Trustee shall have absolute discretion to
pursue or not to pursue any and all Claims, rights, or other Causes of Action that constitute Trust
Assets, as he or she determines are in the best interests of the Liquidating Trust Beneficiaries and
consistent with the purposes of the Liquidating Trust. In administering the Trust Assets, the
Liquidating Trustee shall endeavor not to unduly prolong the Liquidating Trust’s duration, with
due regard that undue haste in the administration of the Trust Assets may fail to maximize value
for the Liquidating Trust Beneficiaries and otherwise be imprudent and not in the best interests
of the Liquidating Trust Beneficiaries.

        Section 3.02 Power to Contract. In furtherance of the purpose of the Liquidating
Trust, and except as otherwise specifically restricted in the Plan, Confirmation Order, or this
Agreement, the Liquidating Trustee shall have the right and power on behalf of the Liquidating
Trust and the Debtors, and also may cause the Liquidating Trust and the Debtors, to enter into
any covenants or agreements binding the Liquidating Trust and the Debtors, and to execute,
acknowledge, and deliver any and all instruments that are necessary or deemed by the
Liquidating Trustee to be consistent with and advisable in furthering the purpose of the
Liquidating Trust.

        Section 3.03 Ultimate Right to Act Based on Advice of Counsel or Other
Professionals. Nothing in this Agreement shall be deemed to prevent the Liquidating Trustee
from taking or refraining to take any action on behalf of the Liquidating Trust and the Debtors
that, based upon the advice of counsel or other professionals, the Liquidating Trustee determines
it is obligated to take or to refrain from taking in the performance of any duty that the
Liquidating Trustee may owe the holders of Claims or any other Person under the Plan,
Confirmation Order, or this Agreement.

        Section 3.04 Powers of the Liquidating Trustee. Without limiting the generality of
Section 3.01, in addition to the powers granted in the Plan, the Liquidating Trustee shall have the
power to take the following actions on behalf of the Liquidating Trust and any powers
reasonably incidental thereto that the Liquidating Trustee, in its reasonable discretion, deems
necessary or appropriate to fulfill the purpose of the Liquidating Trust, unless otherwise
specifically limited or restricted by the Plan, the Confirmation Order or this Agreement
(including Article VIII):

                 (a)    To exercise all power and authority that may be exercised, to commence
         all proceedings (including the power to continue any actions and proceedings that may

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         have been commenced by the Debtors prior to the Effective Date) that may be
         commenced, and to take all actions that may be taken by any officer or manager of the
         Debtors with like effect as if authorized, exercised, and taken by unanimous action of
         such officers and managers, including consummating the Plan and all transfers thereunder
         on behalf of the Liquidating Trust.

                (b)      To wind up the affairs of the Debtors and any or all of their subsidiaries
         and affiliates and their Estates to the extent appropriate as expeditiously as reasonably
         possible.

                (c)     Subject to Article VIII, to open and maintain and manage all accounts,
         including the accounts of the Debtors, calculate and make Distributions, and take other
         actions required under or consistent with the Plan, including the maintenance and
         administration of reasonable and necessary reserves.

                (d)      Subject to Article VIII, to use, manage, sell, abandon, convert to Cash
         and/or otherwise transfer or dispose of the Trust Assets for the purpose of making
         Distributions, fully consummating the Plan and/or taking other actions as are necessary
         and expedient in the Liquidating Trustee’s discretion.

                (e)     To take all steps necessary or appropriate to terminate the corporate
         existence of the Debtors consistent with the Plan.

                 (f)  Subject to Article VIII, to prosecute objections to Claims and Interests,
         and to compromise or settle any Claims or Interests (Disputed or otherwise).

                 (g)    Subject to Article VIII, to assert, litigate, prosecute, compromise, settle,
         dismiss, release, waive, withdraw, abandon, or resolve any and all Causes of Action that
         constitute Trust Assets.

                 (h)    Subject to Article VIII, to employ and compensate any and all such
         professionals and agents as the Liquidating Trustee deems appropriate to perform his or
         her duties under the Plan without further order of the Bankruptcy Court.

                (i)     Hold legal title to the Trust Assets and to any and all rights of the Debtors
         and the holders of Claims in or arising from the Trust Assets.

                (j)    Cause the Liquidating Trust to invest any moneys held as Trust Assets in
         accordance with the terms of Section 3.09.

                 (k)   Cause the Liquidating Trust to enter into any agreement or execute any
         document or instrument required by or consistent with the Plan, the Confirmation Order
         or this Agreement, and to perform all obligations thereunder.


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                 (l)    Protect and enforce the rights to the Trust Assets (including any Causes of
         Action that constitute Trust Assets) vested in the Liquidating Trust and the Liquidating
         Trustee by this Agreement and the Plan by any method deemed appropriate, including by
         judicial proceedings or otherwise.

                 (m)    Investigate any Trust Assets, including potential Causes of Action that
         constitute Trust Assets, and any objections to Claims, and cause the Liquidating Trust to
         seek the examination of any Person pursuant to Federal Rules of Bankruptcy Procedure.

                 (n)    Cause the Liquidating Trust to pay all of its lawful expenses, debts,
         charges, taxes, and other liabilities, and make all other payments relating to the Trust
         Assets.

                (o)    Establish, adjust, and maintain reserves for Disputed Claims required to be
         administered by the Liquidating Trust.

                 (p)     Cause the Liquidating Trust to withhold from the amount distributable to
         any Person the maximum amount needed to pay any tax or other charge that the
         Liquidating Trustee has determined, based upon the advice of its agents and/or
         professionals, may be required to be withheld from such Distribution under the income
         tax or other laws of the United States or of any state or political subdivision thereof.

                (q)    In reliance initially solely upon the Debtors’ schedules and the official
         Claim register maintained in the Cases, review, and where appropriate, cause the
         Liquidating Trust to allow or object to Claims and Interests; and, subject to Article VIII,
         supervise and administer the Liquidating Trust’s commencement, prosecution,
         settlement, compromise, withdrawal, and/or resolution of all objections to Disputed
         Claims required to be administered by the Liquidating Trust.

                (r)     In reliance upon the Debtors’ schedules and the official Claim register
         maintained in the Cases, maintain a register evidencing the beneficial interest herein held
         by each Liquidating Trust Beneficiary and, in accordance with Section 3.08, such register
         may be the official Claims register maintained in the Cases.

                 (s)    Cause the Liquidating Trust to make all tax withholdings, file tax
         information returns, file and prosecute tax refund claims, make tax elections by and on
         behalf of the Liquidating Trust, and file tax returns for the Liquidating Trust as a grantor
         trust under IRC section 671 and Treasury Income Tax Regulation section 1.671-4
         pursuant to and in accordance with the Plan and Article VII, and pay taxes, if any,
         payable for and on behalf of the Liquidating Trust; provided, however, that
         notwithstanding any other provision of this Agreement, the Liquidating Trustee shall
         have no personal responsibility for the signing or accuracy of the Debtors’ income tax
         returns that are due to be filed after the Effective Date or for any tax liability related
         thereto.


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                 (t)     Cause the Liquidating Trust to send annually to the Liquidating Trust
         Beneficiaries, in accordance with the tax laws, a separate statement stating a Liquidating
         Trust Beneficiary’s interest in the Liquidating Trust and its share of the Liquidating
         Trust’s income, gain, loss, deduction or credit, and to instruct all such Liquidating Trust
         Beneficiaries to report such items on their federal tax returns.

                (u)     Cause the Liquidating Trust to seek a determination of tax liability or
         refund under section 505 of the Bankruptcy Code.

                (v)    Cause the Liquidating Trust to establish such reserves for taxes,
         assessments, and other expenses of administration of the Liquidating Trust as may be
         necessary and appropriate for the proper operation of matters incident to the Liquidating
         Trust.

                 (w)    Cause the Liquidating Trust to purchase and carry all insurance policies
         that the Liquidating Trustee deems reasonably necessary or advisable and to pay all
         associated insurance premiums and costs.

                  (x)     Subject to Article VIII, if the Liquidating Trustee has a conflict or if any
         of the Trust Assets are situated in any state or other jurisdiction in which the Liquidating
         Trustee is not qualified to act as trustee, nominate and appoint a Person duly qualified to
         act as trustee in such state or jurisdiction in accordance with the terms of this Agreement.

                (y)     Undertake all administrative functions of the Liquidating Trust, including
         overseeing the winding down and termination of the Liquidating Trust.

                (z)     Undertake all administrative functions remaining in the Cases, including
         overseeing the closing of the Cases.

                 (aa) Assert any defenses, claims, counterclaims and rights of setoff,
         recoupment or privilege of the Debtors, their Estates or any of the Debtors’ non-Debtor
         subsidiaries, including any attorney-client privilege or work-product privilege attaching
         to any documents or communications (whether written or oral).

               (bb) Exercise, implement, enforce, and discharge all of the terms, conditions,
         powers, duties, and other provisions of the Plan, the Confirmation Order, and this
         Agreement.

                 (cc) Resolve, litigate, object and/or enforce all defenses and counterclaims to
         all Claims asserted against the Debtors and their Estates, including setoff, recoupment
         and any rights under section 502(d) of the Bankruptcy Code, in each case other than
         Avoidance Actions and commercial tort claims against Go-Forward Creditors.



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                (dd)    Close the Bankruptcy Cases.

                 (ee) To take all other actions not inconsistent with the provisions of the Plan
         that the Liquidating Trustee deems reasonably necessary or desirable in connection with
         the administration of the Plan, including filing all motions, pleadings, reports, and other
         documents in connection with the administration and closing of the Chapter 11 Cases.

         Section 3.05 Exclusive Authority to Pursue Causes of Action. Subject to Article VIII
and the Plan, the Liquidating Trust shall have the exclusive right, power, and interest to pursue,
settle, waive, release, abandon, or dismiss the Causes of Action that constitute Trust Assets. The
Liquidating Trust shall be the sole representative of the Estate under section 1123(b)(3) of the
Bankruptcy Code with respect to the Causes of Action that constitute Trust Assets.

        Section 3.06 Bankruptcy Court Approval of Liquidating Trustee Actions. Except as
provided in the Plan or otherwise specified in this Agreement, the Liquidating Trustee need not
obtain the order or approval of the Bankruptcy Court in the exercise of any power, rights, or
discretion conferred hereunder, or account to the Bankruptcy Court. The Liquidating Trustee
shall exercise his or her business judgment for the benefit of the Liquidating Trust Beneficiaries
to maximize the value of the Trust Assets and Distributions to the Liquidating Trust
Beneficiaries, giving due regard to the cost, risk, and delay of any course of action.
Notwithstanding the foregoing, the Liquidating Trustee shall have the right to submit to the
Bankruptcy Court any question or questions regarding which the Liquidating Trustee may desire
to have explicit approval of the Bankruptcy Court for the taking of any specific action proposed
to be taken by the Liquidating Trustee with respect to any of the Trust Assets, this Agreement, or
the Plan, including the administration, Distribution, or proposed sale of any of the Trust Assets.
The Bankruptcy Court shall retain jurisdiction and power for such purposes and shall approve or
disapprove any such proposed action upon motion by the Liquidating Trust.

        Section 3.07 Responsibility for Administration of Claims. As of the Effective Date,
the Liquidating Trust shall become responsible for administering and paying Distributions to the
holders of Allowed Claims entitled to receive Distributions from the Liquidating Trust pursuant
to the Plan. Except as otherwise provided in the Plan, the Liquidating Trust shall have the
exclusive right to object to the allowance of any Claim on any ground and shall be entitled to
assert all defenses of the Debtors and their Estates. The Liquidating Trust shall also be entitled to
assert all of the Estates’ rights under, without limitation, section 558 of the Bankruptcy Code.
The Liquidating Trust may also seek estimation of any Claims under and subject to section
502(c) of the Bankruptcy Code.

        Section 3.08 Agents and Professionals. Subject to Article VIII, the Liquidating
Trustee may, but shall not be required to (except as provided in the last sentence of this Section
3.08), consult with and retain counsel, financial advisors, claims agents, auditors, and other
professionals the Liquidating Trustee believes have qualifications necessary to assist in the
administration of the Liquidating Trust and the Debtors, including professionals previously
retained by the Debtors or the Committee. For the avoidance of doubt, and without limitation of
applicable law, nothing in this Agreement, except as provided for in Article VIII, shall limit the

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Liquidating Trustee from engaging counsel or other professionals, including the Liquidating
Trustee itself or the Liquidating Trustee’s firm or their affiliates, to do work for the Liquidating
Trust and the Debtors. Subject to Article VIII, the Liquidating Trustee may pay the reasonable
salaries, fees and expenses of such Persons out of the Trust Assets in the ordinary course of
business.

        Section 3.09 Safekeeping and Investment of Trust Assets. All moneys and other
assets received by the Liquidating Trustee shall, until distributed or paid over as provided herein
and in the Plan, be held in trust for the benefit of the holders of Allowed Claims, but need not be
segregated in separate accounts from other Trust Assets except to the extent required by law, the
Plan or Section 4.01(b). The Liquidating Trustee shall not be under any obligation to invest Trust
Assets. Neither the Liquidating Trust nor the Liquidating Trustee shall have any liability for
interest or producing income on any moneys received by them and held for Distribution, except
as such interest shall actually be received by the Liquidating Trust or the Liquidating Trustee,
which shall be distributed as provided in the Plan. Except as otherwise provided by the Plan, the
powers of the Liquidating Trustee to invest any moneys held by the Liquidating Trust, other than
those powers reasonably necessary to maintain the value of the assets and to further the
Liquidating Trust’s liquidating purpose, shall be limited to powers to invest in demand and time
deposits, such as short-term certificates of deposit, in banks or other savings institutions, or other
temporary liquid investments, such as treasury bills; provided, however, that the scope of
permissible investments shall be limited to include only those investments that a Liquidating
Trust, within the meaning of Treas. Reg. § 3.01.7701-4(d), may be permitted to hold pursuant to
the Treasury Regulations, or any modification of the IRS guidelines, whether set forth in IRS
rulings, IRS pronouncements, or otherwise. For the avoidance of doubt, the provisions of section
11-2.3 of the Estates, Power, and Trusts Law of New York shall not apply to this Agreement.
Notwithstanding the foregoing, the Liquidating Trustee shall not be prohibited from engaging in
any trade or business on its own account, provided that such activity does not interfere or conflict
with the Liquidating Trustee’s administration of the Liquidating Trust and is in accordance with
Section 8.06.

        Section 3.10 Maintenance and Disposition of Trust Records. The Liquidating
Trustee shall maintain reasonably good and sufficient books and records of accounting relating
to the Trust Assets, the management thereof, all transactions undertaken on behalf of the
Liquidating Trust or the Debtors, all expenses incurred by or on behalf of the Liquidating Trust
or the Debtors (including as required pursuant to Section 2.04), and all Distributions
contemplated or effectuated from the Liquidating Trust. Upon the entry of a final decree closing
the last of the Causes of Action, unless otherwise ordered by the Bankruptcy Court, the
Liquidating Trustee may destroy or otherwise dispose of all records maintained by the Debtors or
Liquidating Trustee. Prior thereto, the Liquidating Trustee may, upon notice to all persons on
the Bankruptcy Rule 2002 service list and without Bankruptcy Court approval, destroy any
documents that he or she believes are no longer required to effectuate the terms and conditions of
the Plan. The Liquidating Trust may engage a claims agent to continue to maintain and update
the Claims register maintained in the Cases throughout the administration of the Liquidating
Trust, and such Claims register may serve as the Liquidating Trustee’s register of beneficial
interests held by Liquidating Trust Beneficiaries. To the extent there are any inconsistencies
between this section 3.10 of the Agreement on one hand and section 6.05 of the Plan and section

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5.2 of the Sale Order on the other hand, the Plan and Sale Order shall prevail. Accordingly, the
Liquidating Trustee shall succeed to the Debtors’ obligations to store, preserve, and provide to
the Pension Benefit Guaranty Corporation (“PBGC”) access to all documents and records
relating to the Stanadyne LLC Pension Plan (“Pension Plan Documents”) and shall not destroy
such Pension Plan Documents until PBGC has completed its investigation regarding the Pension
Plan. Pension Plan Documents may be in hard copy or electronic form and may include, but are
not limited to, any Pension Plan governing documents, actuarial documents, records and
statements of the Pension Plan’s assets, board resolutions relating to the Pension Plan, and
employee and personnel records of the employees who participate in the Pension Plan.

        Section 3.11 Reporting Requirements. The Liquidating Trustee shall participate in a
monthly call with the Oversight Committee to discuss the status of all material litigation, Claims
objections and all other material matters affecting the Liquidating Trust and such other matters
regarding the Liquidating Trust as determined by the Oversight Committee, unless such
requirement is waived by all members of the Oversight Committee. The Liquidating Trustee
shall provide any Oversight Committee member such additional information and reports they
may reasonably request concerning Trust administration. To the extent feasible and practicable
as determined by the Liquidating Trustee, each Distribution by the Liquidating Trustee shall be
accompanied by a report to the Liquidating Trust Beneficiaries which details and accounts for
the Trust Assets remaining since the prior report. The report shall include a summary of expenses
incurred by the Liquidating Trustee and Distributions made on account of Allowed Claims. All
communications with the Liquidating Trustee and the Oversight Committee shall be subject to
common-interest privilege, and neither the Liquidating Trustee nor any member of the Oversight
Committee shall be required to disclose any such communications to any third party absent
approval of a court of competent jurisdiction after notice and an opportunity for hearing.

        After the Liquidating Trustee has made all Distributions provided by the Plan and this
Agreement, the Liquidating Trustee shall file a final report with the Bankruptcy Court which
details and accounts for the Trust Assets and contains a summary of expenses incurred by the
Liquidating Trustee and Distributions made on account of Allowed Claims.

        Section 3.12 Conflicts of Interest. Conflicts of interest of the Liquidating Trustee will
be addressed by the Oversight Committee as set forth below in Article VIII. If no Oversight
Committee is established or serving, the Liquidating Trustee will appoint a disinterested Person
to handle any matter where the Liquidating Trustee has identified a conflict of interest or the
Bankruptcy Court, on motion of a party in interest, determines one exists. In the event the
Liquidating Trustee is unwilling or unable to appoint a disinterested Person to handle any such
matter, the Bankruptcy Court, on notice and hearing, may do so.

        Section 3.13 No Bond Required; Procurement of Insurance. Notwithstanding any
state or other applicable law to the contrary, the Liquidating Trustee shall be exempt from giving
any bond or other security in any jurisdiction and shall serve hereunder without bond. The
Liquidating Trustee is hereby authorized, but not required to obtain all reasonable insurance
coverage for itself, the Oversight Committee and their respective agents, representatives,
employees or independent contractors, including coverage with respect to the liabilities, duties

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and obligations of the Liquidating Trustee, the Oversight Committee and their respective agents,
representatives, employees, or independent contractors under this Agreement. The cost of any
such insurance coverage shall be an expense of the Liquidating Trust and paid out of Trust
Assets.

       Section 3.14 Charitable Donations. The Liquidating Trustee may donate any
remaining proceeds to a charitable organization after the Liquidating Trustee has made all
possible Distributions required by the Plan pursuant to the terms and conditions of this
Agreement.


                                          ARTICLE IV
                                          Distributions

        Section 4.01 Distribution and Reserve of Trust Assets. Following the transfer of the
Trust Assets to the Liquidating Trust, the Liquidating Trustee shall make continuing efforts on
behalf of the Liquidating Trust to collect and liquidate or otherwise monetize all Trust Assets
and, subject to the reserves required under the Plan or this Agreement, make Distributions to
Liquidating Trust Beneficiaries and holders of Other Allowed Claims, in each case to the extent
required by the Plan. Any recovery by the Liquidating Trustee on account of the Trust Assets
shall be applied in accordance with the Plan.

                 (a)    Distributions. All Distributions to be made under this Agreement shall be
         made in accordance with this Agreement and the Plan, including articles IV and VIII of
         the Plan, which is incorporated herein by reference.

                       (i)    Subject to Article VIII, the Liquidating Trustee shall cause the
                Liquidating Trust to Distribute the Initial Distribution Fund and the Unsecured
                Claim Distribution Fund in accordance with section 4.03 of the Plan.

                        (ii)   Notwithstanding the foregoing clause (i), the Liquidating Trust
                may retain Trust Assets (including the Initial Distribution Fund) as the
                Liquidating Trustee may deem reasonably necessary (A) in accordance with
                section 8.02(b) of the Plan and (B) to maintain the value of the Trust Assets or to
                meet expenses, claims and contingent liabilities of the Liquidating Trust, the
                Debtors and the Liquidating Trustee, and retention of such amount may preclude
                Distributions to holders of Allowed Claims.

                 (b)    Reserves; Pooling of Reserved Funds. Before any Distribution can be
         made, the Liquidating Trustee shall, in its reasonable discretion, establish, supplement,
         and maintain reserves in an amount sufficient to meet any and all expenses and liabilities
         of the Liquidating Trust and the Debtors, including attorneys’ fees and expenses, the fees
         and expenses of other professionals. The Liquidating Trustee need not maintain the
         Liquidating Trust’s reserves in segregated bank accounts and may pool funds in the


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           reserves with each other and other funds of the Liquidating Trust; provided, however,
           that the Liquidating Trust shall treat all such reserved funds as being held in a segregated
           manner in its books and records.

                   (c)     Distributions Net of Reserves and Costs. Distributions shall be made net
           of reserves in accordance with the Plan and also net of the actual and reasonable costs of
           making the Distributions.

                  (d)     Right to Rely on Professionals. Without limitation of the generality of
           Section 6.06, in determining the amount of any Distribution or reserves, the Liquidating
           Trustee may rely and shall be fully protected in relying on the advice and opinion of the
           Liquidating Trust’s financial advisors, accountants, or other professionals.

       Section 4.02 Method and Timing of Distributions. Distributions will be made from
the Liquidating Trust in accordance with the terms of the Plan and this Agreement. The
Liquidating Trust may engage disbursing agents and other Persons to help make Distributions.

       Section 4.03 Withholding from Distributions. Any federal or state withholding taxes
or other amounts required to be withheld under any applicable law shall be deducted and
withheld from any Distributions hereunder, and any property so withheld will then be paid by the
Liquidating Trustee on behalf of the Debtors to the appropriate authority. All Persons holding
Claims shall be required to provide any information necessary to effect the withholding of such
taxes. The Liquidating Trustee may, if necessary or appropriate to comply with applicable
withholding requirements, withhold the entire Distribution due to any holder of an Allowed
Claim until such time as such holder provides the necessary information to comply with any
withholding requirements of any governmental unit. Any property so withheld will then be paid
by the Liquidating Trustee to the appropriate authority. If the holder of an Allowed Claim fails
to provide the information necessary to comply with any withholding requirements of any
governmental unit within 60 days from the date of first notification to the holder of the need for
such information or for the Cash necessary to comply with any applicable withholding
requirements, then such holder’s Distribution shall be treated as unclaimed property in
accordance with section 8.02([h])1 of the Plan or the amount required to be withheld may be so
withheld and turned over to the applicable authority.

        Section 4.04 Tax Identification Numbers. The Liquidating Trustee may require any
Liquidating Trust Beneficiary or holder of an Other Allowed Claim to furnish its taxpayer
identification number as assigned by the Internal Revenue Service and may condition any
Distribution to any Liquidating Trust Beneficiary or holder of an Other Allowed Claim upon
receipt of such identification number. If a Liquidating Trust Beneficiary or holder of an Other
Allowed Claim does not timely provide the Liquidating Trustee with its taxpayer identification
number in the manner and by the deadline established by the Liquidating Trustee, then the



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Distribution to such Liquidating Trust Beneficiary or holder shall be administered in accordance
with Section 4.05.

        Section 4.05 Unclaimed and Undeliverable Distributions. If any Distribution is
returned to the Liquidating Trustee as undeliverable or is otherwise unclaimed, no further
Distributions shall be made unless and until the applicable Liquidating Trust Beneficiary or
holder of Other Allowed Claim claims the Distributions by timely notifying the Liquidating
Trustee in writing of any information necessary to make the Distribution to such Liquidating
Trust Beneficiary or holder in accordance with this Agreement, the Plan, and applicable law,
including such Liquidating Trust Beneficiary’s or holder’s then-current address or taxpayer
identification number. If such Liquidating Trust Beneficiary or holder timely provides the
Liquidating Trustee such missing information, all missed Distributions shall be made to such
Liquidating Trust Beneficiary or holder as soon as is reasonably practicable, without interest.
Undeliverable or unclaimed Distributions shall be administered in accordance with sections
8.02([h]) and 8.02([j])2 of the Plan.

                   (a)    No Responsibility to Attempt to Locate Liquidating Trust
           Beneficiaries. The Liquidating Trustee may, in its sole discretion, attempt to determine a
           Liquidating Trust Beneficiary’s or holder’s of Other Allowed Claims current address or
           otherwise locate a Liquidating Trust Beneficiary or holder, but nothing in this Agreement
           or the Plan shall require the Liquidating Trustee to do so.

                   (b)    Disallowance of Claims; Cancellation of Corresponding Beneficial
           Interests. All Claims in respect of undeliverable or unclaimed Distributions that pursuant
           to sections 8.02([h]) and 8.02([j])3 of the Plan have become unclaimed property under
           section 347(b) of the Bankruptcy Code, shall be deemed Disallowed and expunged, and
           any corresponding beneficial interests in the Liquidating Trust of a Liquidating Trust
           Beneficiary holding such Disallowed Claims shall be deemed canceled. The holder of
           any such Disallowed Claim shall no longer have any right, claim, or interest in or to any
           Distributions in respect of such Disallowed Claims. The holder of any such Disallowed
           Claim is forever barred, estopped, and enjoined from receiving any Distributions under
           this Agreement and from asserting such Disallowed Claim against the Liquidating Trust
           or the Liquidating Trustee.

                  (c)    Inapplicability of Unclaimed Property or Escheat Laws. Unclaimed
           property held by the Liquidating Trust and the Debtors shall not be subject to the
           unclaimed property or escheat laws of the United States, any state, or any local
           governmental unit.

       Section 4.06 Voided Checks; Request for Reissuance. Distribution checks issued to
Liquidating Trust Beneficiaries shall be null and void if not negotiated within 60 days after the


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date of issuance thereof. Requests for the reissuance of any check shall be made in writing
directly to the Liquidating Trustee by the Liquidating Trust Beneficiary that was originally
issued such check. All such requests shall be made promptly. Distributions in respect of voided
checks shall be treated as unclaimed Distributions under the Plan and administered under Section
4.05 of this Agreement.

        Section 4.07 Conflicting Claims. If any conflicting claims or demands are made or
asserted with respect to an Other Allowed Claim or the beneficial interest of a Liquidating Trust
Beneficiary under this Agreement, or if there is any disagreement between the assignees,
transferees, heirs, representatives, or legatees succeeding to all or a part of such Other Allowed
Claim or interest resulting in adverse claims or demands being made in connection with such
Other Allowed Claim or interest, then, in any of such events, the Liquidating Trustee shall be
entitled, in its sole discretion, to refuse to comply with any such conflicting claims or demands.

                 (a)     The Liquidating Trustee may elect to cause the Liquidating Trust to make
         no Distribution with respect to the Other Allowed Claim or beneficial interest subject to
         the conflicting claims or demand, or any part thereof, and to refer such conflicting claims
         or demands to the Bankruptcy Court, which shall have exclusive jurisdiction over
         resolution of such conflicting claims or demands. Neither the Liquidating Trust nor the
         Liquidating Trustee shall be or become liable to any of such parties for their refusal to
         comply with any such conflicting claims or demands, nor shall the Liquidating Trust or
         Liquidating Trustee be liable for interest on any funds which may be so withheld.

                 (b)     The Liquidating Trustee shall be entitled to refuse to act until either (i) the
         rights of the adverse claimants have been adjudicated by a Final Order of the Bankruptcy
         Court, or (ii) all differences have been resolved by a valid written agreement among all
         such parties to the satisfaction of the Liquidating Trustee, which agreement shall include
         a complete release of the Liquidating Trust and the Liquidating Trustee. Until the
         Liquidating Trustee receives written notice that one of the conditions of the preceding
         sentence is met, the Liquidating Trustee may deem and treat as the absolute owner under
         this Agreement of the Other Allowed Claim or beneficial interest in the Liquidating Trust
         the Liquidating Trust Beneficiary or holder of Other Allowed Claim identified as the
         owner of that Other Allowed Claim or interest in the books and records maintained by the
         Liquidating Trustee. The Liquidating Trustee may deem and treat such Person as the
         absolute owner for purposes of receiving Distributions on account thereof for federal and
         state income tax purposes, and for all other purposes whatsoever.

                (c)     In acting or refraining from acting under and in accordance with this
         Section 4.07, the Liquidating Trustee shall be fully protected and incur no liability to any
         purported claimant or any other Person to the extent set forth in Article VI.

         Section 4.08 Priority of Expenses of Trust. The Liquidating Trust may pay or reserve
for all of its expenses before making Distributions. The Liquidating Trust Expenses include U.S.
Trustee Fees solely to the extent incurred by the Debtors on and after the Effective Date of the
Plan.

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                                          ARTICLE V
                                 Liquidating Trust Beneficiaries

       Section 5.01 Interest Beneficial Only. The ownership of a beneficial interest in the
Liquidating Trust shall not entitle any Liquidating Trust Beneficiary to any title in or to the Trust
Assets or to any right to call for a partition or division of such assets or to require an accounting.

        Section 5.02 Ownership of Beneficial Interests Hereunder. Each Liquidating Trust
Beneficiary shall own a beneficial interest herein, which shall, subject to Article IV and the Plan,
be entitled to Distributions in the amounts, and at the times, set forth in the Plan.

       Section 5.03 Evidence of Beneficial Interest. Ownership of a beneficial interest in the
Trust Assets shall not be evidenced by any certificate, security, or receipt or in any other form or
manner whatsoever, except as maintained on the books and records of the Liquidating Trust by
the Liquidating Trustee.

       Section 5.04 No Right to Accounting. Except as set forth in Section 9.04, neither the
Liquidating Trust Beneficiaries nor their successors, assigns, creditors, or any other Person shall
have any right to an accounting by the Liquidating Trustee, and the Liquidating Trustee shall not
be obligated to provide any accounting to any Person. Nothing in this Agreement is intended to
require the Liquidating Trustee at any time or for any purpose to file any accounting or seek
approval of any court with respect to the administration of the Liquidating Trust or as a condition
for making any advance, payment, or Distribution out of proceeds of Trust Assets.

       Section 5.05 No Standing. Except as expressly provided in this Agreement, a
Liquidating Trust Beneficiary shall not have standing to direct or to seek to direct the
Liquidating Trust or the Liquidating Trustee to do or not to do any act or to institute any action
or proceeding at law or in equity against any Person upon or with respect to the Trust Assets.

        Section 5.06 Requirement of Undertaking. The Liquidating Trustee may request the
Bankruptcy Court to require, in any suit for the enforcement of any right or remedy under this
Agreement, or in any suit against the Liquidating Trustee for any action taken or omitted by it as
the Liquidating Trustee, that the filing party litigant in such suit pay the costs of such suit,
including reasonable attorneys’ fees, against any party litigant in such suit; provided, however,
that the provisions of this Section 5.06 shall not apply to any suit by the Liquidating Trustee.

        Section 5.07 Limitation on Transferability. It is understood and agreed that the
beneficial interests herein shall be non-transferable and non-assignable during the term of this
Agreement except by operation of law. An assignment by operation of law shall not be effective
until appropriate notification and proof thereof is submitted to the Liquidating Trustee, and the
Liquidating Trustee may continue to cause the Liquidating Trust to pay all amounts to or for the
benefit of the assigning Liquidating Trust Beneficiaries until receipt of proper notification and
proof of assignment by operation of law. The Liquidating Trustee may rely upon such proof
without the requirement of any further investigation.


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        Section 5.08 Exemption from Registration. To the extent the interests in the
Liquidating Trust are deemed to be “securities,” the issuance of such interests under the Plan, if
any, are exempt, pursuant to section 1145 of the Bankruptcy Code, from registration under the
Securities Act of 1933, as amended, and any applicable state and local laws requiring registration
of securities. No party to this Agreement shall make a contrary or different contention.

       Section 5.09 Delivery of Distributions. Subject to the terms of this Agreement, the
Liquidating Trustee shall cause the Liquidating Trust to make Distributions to holders of
Allowed Claims in the manner provided in the Plan.


                                        ARTICLE VI
                            Indemnification and Third Party Rights

        Section 6.01 Parties Dealing With the Liquidating Trustee. In the absence of actual
knowledge to the contrary, any Person dealing with the Liquidating Trust, the Debtors or the
Liquidating Trustee shall be entitled to rely on the authority of the Liquidating Trustee or any of
the Liquidating Trustee’s agents to act in connection with the Trust Assets. There is no
obligation of any Person dealing with the Liquidating Trustee to inquire into the validity,
expediency, or propriety of any transaction by the Liquidating Trustee or any agent of the
Liquidating Trustee.

        Section 6.02 Limitation of the Liquidating Trustee’s and Oversight Committee’s
Liability. In exercising the rights granted herein, the Liquidating Trustee shall exercise the
Liquidating Trustee’s best judgment, to the end that the affairs of the Liquidating Trust
(including the Debtors) shall be properly managed and the interests of all of the holders of
Claims safeguarded. But, notwithstanding anything herein or in the Plan to the contrary, neither
the Liquidating Trustee, any member of the Oversight Committee, nor their respective
Representatives, and any of such Person’s successors and assigns shall incur any responsibility
or liability by reason of any error of law or fact or of any matter or thing done or suffered or
omitted to be done under or in connection with this Agreement, whether sounding in tort,
contract, or otherwise, except for willful misconduct, intentional misconduct, gross negligence or
fraud that is found by a final judgment (not subject to further appeal or review) of a court of
competent jurisdiction to be the direct and primary cause of loss, liability, damage, or expense
suffered. In no event shall the Liquidating Trustee, Oversight Committee or their respective
Representatives be liable for indirect, punitive, special, incidental, or consequential damage or
loss (including but not limited to lost profits) whatsoever, even if the Liquidating Trustee,
Oversight Committee or their respective Representatives has been informed of the likelihood of
such loss or damages and regardless of the form of action.

       Section 6.03 No Liability for Acts of Other Persons. None of the Persons identified in
Section 6.02 shall be liable for the act or omission of any other Person identified in that section.

        Section 6.04 No Liability for Acts of Predecessors. No successor Liquidating Trustee
shall be in any way responsible for the acts or omissions of any Liquidating Trustee in office

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prior to the date on which such successor becomes the Liquidating Trustee, unless a successor
Liquidating Trustee expressly assumes such responsibility.

        Section 6.05 No Liability for Good Faith Error of Judgment. The Liquidating
Trustee shall not be liable for any error of judgment made in good faith, unless it shall be finally
determined by a final judgment of a court of competent jurisdiction (not subject to further appeal
or review) that the Liquidating Trustee was grossly negligent or engaged in willful misconduct in
ascertaining the pertinent facts.

        Section 6.06 Reliance by the Liquidating Trustee and Oversight Committee on
Documents and Advice of Counsel or Other Persons. Except as otherwise provided herein, the
Liquidating Trustee and Oversight Committee may rely and shall be protected in acting upon any
resolution, certificate, statement, instrument, opinion, report, notice, request, consent, order, or
other paper or document believed by them to be genuine and to have been signed or presented by
the proper party or parties. The Liquidating Trustee and Oversight Committee also may engage
and consult with their respective legal counsel and other agents and advisors, and shall not be
liable for any action taken, omitted, or suffered by them in accordance with the advice of such
counsel, agents, or advisors.

       Section 6.07 No Liability For Acts Approved by Bankruptcy Court or Oversight
Committee. The Liquidating Trustee and Oversight Committee shall have the right at any time
to seek instructions from the Bankruptcy Court concerning the administration or disposition of
the Trust Assets and the Claims required to be administered by the Liquidating Trust. Neither the
Oversight Committee nor the Liquidating Trustee shall be liable for any act or omission that has
been approved by the Bankruptcy Court, and all such actions or omissions shall conclusively be
deemed not to constitute willful misconduct, intentional misconduct, gross negligence or fraud.
The Liquidating Trustee shall not be liable for any act or omission approved by the Oversight
Committee under Article VIII or otherwise, and all such actions or omissions shall conclusively
be deemed not to constitute willful misconduct, intentional misconduct, gross negligence or
fraud.

       Section 6.08 No Personal Obligation for Trust Liabilities. Persons dealing with the
Liquidating Trustee shall have recourse only to the Trust Assets to satisfy any liability incurred
by the Liquidating Trustee to any such Person in carrying out the terms of this Agreement, and
the Liquidating Trustee shall have no personal, individual obligation to satisfy any such liability.

         Section 6.09 Indemnification. The Liquidating Trustee and the members of the
Oversight Committee, and their respective firms, companies, affiliates, partners, officers,
directors, members, employees, professionals, advisors, attorneys, financial advisors, investment
bankers, disbursing agents, or agents and any of such parties’ successors and assigns
(collectively, the “Indemnified Parties” and each, an “Indemnified Party”) shall, to the fullest
extent permitted by applicable law, be defended, held harmless, and indemnified by the
Liquidating Trust from time to time and receive reimbursement from and against any and all
loss, liability, expense (including counsel fees), or damage of any kind, type or nature, whether
sounding in tort, contract, or otherwise, that the Indemnified Parties may incur or sustain in

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connection with the exercise or performance of any of the Liquidating Trust’s, Liquidating
Trustee’s, or Oversight Committee’s powers and duties under this Agreement or in rendering
services by the Indemnified Party to the Liquidating Trust, Liquidating Trustee, or Oversight
Committee (the “Indemnified Conduct”), including the costs of counsel or others in
investigating, preparing, defending, or settling any action or claim (whether or not litigation has
been initiated against the Indemnified Party) or in enforcing this Agreement (including its
indemnification provisions), except if such loss, liability, expense, or damage is finally
determined by a final judgment (not subject to further appeal or review) of a court of competent
jurisdiction to result directly and primarily from the willful misconduct, intentional misconduct,
gross negligence or fraud of the Indemnified Party asserting this provision.

                  (a)     Expense of Trust; Limitation on Source of Payment of
         Indemnification. All indemnification liabilities of the Liquidating Trust under this
         Section 6.09 shall be an expense of the Liquidating Trust. The amounts necessary for
         such indemnification and reimbursement shall be paid by the Liquidating Trust out of the
         available Trust Assets after reserving for all actual and anticipated expenses and
         liabilities of the Liquidating Trust. The Liquidating Trustee shall not be personally liable
         for the payment of any Trust expense or claim or other liability of the Liquidating Trust,
         and no Person shall look to the Liquidating Trustee or other Indemnified Parties
         personally for the payment of any such expense or liability.

                (b)     Procedure for Current Payment of Indemnified Expenses;
         Undertaking to Repay. The Liquidating Trust shall reasonably promptly pay an
         Indemnified Party all amounts subject to indemnification under this Section 6.09 on
         submission of invoices for such amounts by the Indemnified Party. The Oversight
         Committee shall approve the indemnification of any Indemnified Party and thereafter
         shall approve any monthly bills of such Indemnified Party for indemnification. All
         invoices for indemnification shall be subject to the approval of the Liquidating Trustee.
         By accepting any indemnification payment, the Indemnified Party undertakes to repay
         such amount promptly if it is determined that the Indemnified Party is not entitled to be
         indemnified under this Agreement. The Bankruptcy Court shall hear and finally
         determine any dispute arising out of this Section 6.09.

       Section 6.10 No Implied Obligations. The Liquidating Trustee shall not be liable
except for the performance of such duties and obligations as are specifically set forth herein, and
no implied covenants or obligations shall be read into this Agreement against the Liquidating
Trustee.

        Section 6.11 Confirmation of Survival of Provisions. Without limitation in any way
of any provision of this Agreement, the provisions of this Article VI shall survive the death,
dissolution, liquidation, resignation, replacement, or removal, as may be applicable, of the
Liquidating Trustee, or the termination of the Liquidating Trust or this Agreement, and shall
inure to the benefit of the Liquidating Trustee’s and the Indemnified Parties’ heirs and assigns.




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                                         ARTICLE VII
                                          Tax Matters

        Section 7.01 Tax Treatment of Trust. Pursuant to and in accordance with the Plan, for
all federal income tax purposes, the Debtors, the Liquidating Trust Beneficiaries, the Liquidating
Trustee, and the Liquidating Trust shall treat the Liquidating Trust as a Liquidating Trust within
the meaning of Treasury Income Tax Regulation Section 301.7701-4(d) and IRS Revenue
Procedure 94-45, with no objective to continue or engage in the conduct of a trade or business.
The Liquidating Trust is intended to qualify as a liquidating trust for U.S. federal income tax
purposes. In general, a liquidating trust is not a separate taxable entity for U.S. federal income
tax purposes, but is instead treated as a grantor trust, i.e., pass-through entity for U.S. federal
income tax purposes. All parties must treat the transfer of the portion of the Trust Assets
attributable to the Liquidating Trust Beneficiaries as a transfer of such assets directly to the
Liquidating Trust Beneficiaries. Consistent therewith, all parties must treat the Liquidating Trust
as a grantor trust of which the Liquidating Trust Beneficiaries are the owners and grantors.
Subject to the terms of the Liquidating Trust Agreement the value of a Liquidating Trust
Beneficiary’s Allowed Claim shall be the value of such Liquidating Trust Beneficiary’s interest
in the Liquidating Trust, and the Liquidating Trust Beneficiaries and the Liquidating Trustee
must consistently use this valuation for all U.S. federal income tax purposes, including for
determining gain, loss or tax basis.

        Section 7.02 Annual Reporting and Filing Requirements. Pursuant to and in
accordance with the terms of the Plan and this Agreement, the Liquidating Trustee shall file tax
returns for the Liquidating Trust as a grantor trust pursuant to Treasury Income Tax Regulation
Section 1.671-4(a).

        Section 7.03 Tax Treatment of Reserves for Disputed Claims. The Liquidating
Trustee shall establish a reserve on account of Disputed Claims in accordance with section
4.02(c) of the Plan. The Liquidating Trust may, for U.S. federal income tax purposes (and, to the
extent permitted by law), (a) make an election pursuant to Treasury Regulation section 1.468B-9
to treat such reserve as a “disputed ownership fund” within the meaning of that section, (b)
allocate taxable income or loss to such reserve, with respect to any given taxable year (but only
for the portion of the taxable year with respect to which such Claims are Disputed), and (c)
distribute assets from such reserve as, when, and to the extent, such Disputed Claims cease to be
Disputed, whether by virtue of becoming Allowed or otherwise resolved. The Liquidating Trust
Beneficiaries shall be bound by such election, if made by the Liquidating Trustee, and as such
shall, for U.S. federal income tax purposes (and, to the extent permitted by law), report
consistently therewith.

        Section 7.04 Valuation of Trust Assets. After the Effective Date, but in no event later
than the due date for timely filing of the Liquidating Trust’s first federal income tax return
(taking into account applicable tax filing extensions), the Liquidating Trustee shall (a) determine
the fair market value of the Trust Assets as of the Effective Date, based on the Liquidating
Trustee’s good faith determination, (b) advise the Oversight Committee of such valuation, and
(c) establish appropriate means to apprise the Liquidating Trust Beneficiaries of such valuation.

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The valuation shall be used consistently by all parties (including the Debtors, the Liquidating
Trust, the Liquidating Trustee, and the Liquidating Trust Beneficiaries) for all federal income tax
purposes.


                                       ARTICLE VIII
                                     Oversight Committee

         Section 8.01 Appointment, Composition and Removal of Oversight Committee
Members. The Oversight Committee (the “Oversight Committee”) shall be comprised of two
members, which shall be appointed as follows: (a) one member shall be appointed by the
Prepetition Agent, who shall initially be Joseph Naccarato (each such member, a “Prepetition
Agent Appointee”) and (b) one member shall be appointed by the Committee, who shall initially
be the PBGC (each such member, a “Committee Appointee”). The Prepetition Agent may at
any time remove, with or without cause, any Prepetition Agent Appointee and fill the vacancy.
The Committee may at any time remove, with or without cause, any Committee Appointee and
fill the vacancy. Except as provided in this Section 8.01, a member of the Oversight Committee
may only be removed by entry of a Bankruptcy Court order finding that cause exists to remove
such member. If the Prepetition Agent Appointee is removed as a member of the Oversight
Committee for cause by entry of a Bankruptcy Court order, then the vacancy shall be filled by an
individual appointed by the Prepetition Agent, If the Committee Appointee is removed as a
member of the Oversight Committee for cause by entry of a Bankruptcy Court order, then the
vacancy shall be filled by an individual proposed by Liquidating Trustee after the Liquidating
Trustee has filed and served a notice identifying the proposed member of the Oversight
Committee. If no objection is received within ten (10) business days after the filing of the
notice, the individual proposed by the Liquidating Trustee shall become a member of the
Oversight Committee; if an objection is received, the Bankruptcy Court shall conduct a hearing
with respect to the Trustee’s proposed appointment to the Oversight Committee.

        Section 8.02 Rights and Duties of Oversight Committee; Corresponding
Limitations on the Liquidating Trustee’s Actions. The rights and duties of the Oversight
Committee shall be those set forth in this Agreement and the Plan. The Oversight Committee
shall supervise the Liquidating Trustee in accordance with this Agreement and the Plan. The
approval of both members of such Oversight Committee shall be required for the Oversight
Committee to act on any matter (whether at a meeting or by written consent). If there is a tie
vote among members of the Oversight Committee or one or more of the members of the
Oversight Committee is recused in accordance with Section 8.05 with respect to any such matter,
then the Liquidating Trustee shall have the deciding vote in determining the decision of the
Oversight Committee with respect to such matter. If an Oversight Committee shall not continue
to exist under this Agreement, the Liquidating Trustee shall have all the rights and powers
ascribed to the Oversight Committee and all references herein to any required approval or other
action of such Oversight Committee shall be of no force or effect. The Liquidating Trustee shall
not take any of the following actions without the prior written approval of the Oversight
Committee:



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                 (a)    The commencement, prosecution, settlement, compromise, withdrawal or
         other resolution of any Causes of Action or any other litigation or controverted matter by
         the Liquidating Trust where the amount sought to be recovered in the complaint or other
         document initiating any such Causes of Action or other litigation or controverted matter
         exceeds $200,000;

                 (b)    The sale, transfer, assignment, or other disposition of any Trust Assets, or
         any release, modification or waiver of existing rights as to any Trusts Assets, in each case
         having a valuation in excess of $200,000;

                (c)     The abandonment of any Trust Assets having a valuation of at least
         $200,000;

                (d)     The settlement, compromise, or other resolution of any Disputed Claim,
         wherein the allowed amount of the asserted Claim exceeds $200,000;

                (e)     The retention of professionals;

                (f)     The borrowing of any funds by the Liquidating Trust or pledge as security
         of any portion of the Trust Assets;

                (g)    The amount and timing of Distributions to Liquidating Trust Beneficiaries
         from Trust Assets or the proceeds of the Trust Assets;

                 (h)    Any matter which could reasonably be expected to have a material adverse
         effect on the amount of Distributions to be made to the Liquidating Trust Beneficiaries;
         and

                 (i)     The exercise of any right or action set forth elsewhere in this Agreement
         or the Plan that expressly requires approval of the Oversight Committee.

       Section 8.03 Approval and Authorization on Negative Notice. The Liquidating
Trustee may obtain any approval or authorization required under the Plan or this Agreement
from the Oversight Committee on ten (10) business days’ negative notice. The Liquidating
Trustee may make requests on behalf of the Liquidating Trust for approval or authorization by
the Oversight Committee in writing, which may be made in the form of an e-mail. If any
Oversight Committee member objects to the Liquidating Trustee’s request, the matter shall be
decided in accordance with Section 8.02.

       Section 8.04 Appointment of Supplemental Trustee. The Oversight Committee shall
approve the Liquidating Trustee’s appointment of any Supplemental Trustee (as hereinafter
defined) in accordance with Section 9.09 and the removal and replacement of any Supplemental
Trustee under that provision.


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        Section 8.05 Oversight Committee Member’s Conflicts of Interest. The Oversight
Committee members shall disclose any actual or potential conflicts of interest that such member
has with respect to any matter arising during the administration of the Liquidating Trust to the
other Oversight Committee members and the Liquidating Trustee and such member shall be
recused from voting on any matter on which such member has an actual or potential conflict of
interest.

        Section 8.06 Liquidating Trustee’s Conflicts of Interest. The Liquidating Trustee
shall disclose to the Oversight Committee any conflicts of interest that the Liquidating Trustee
has with respect to any matter arising during administration of the Liquidating Trust. In the event
that the Liquidating Trustee cannot take any action, including the prosecution of any Causes of
Action or the objection to any Claim, by reason of an actual or potential conflict of interest, the
Oversight Committee acting by a simple majority shall be authorized to take any such action(s)
in the Liquidating Trustee’s place and stead, including the retention of professionals (which may
include professionals retained by the Liquidating Trustee) for the purpose of taking such actions.
The Bankruptcy Court shall hear and finally determine any dispute arising out of this Section
8.06.

       Section 8.07 Resignation of Oversight Committee Member. A member of the
Oversight Committee may resign at any time on written notice (including e-mailed notice) to the
other Oversight Committee members, the Liquidating Trustee, the Prepetition Agent (in the case
of a Prepetition Agent Appointee) and the Committee (in the case of a Committee Appointee).
The resignation shall be effective on the later of (a) the date specified in the notice delivered to
the other Oversight Committee members and the Liquidating Trustee, or (b) the date that is 30
days after the date such notice is delivered. In no case shall the resignation of the Liquidating
Trustee be effective on less than 30 days’ notice.

        Section 8.08 Appointment of Replacement Oversight Committee Members. Upon
the resignation, death, incapacity, or removal of a member of the Oversight Committee, the
Prepetition Agent may appoint a replacement to fill the vacancy if such member of the Oversight
Committee was a Prepetition Agent Appointee. Upon the resignation, death, incapacity, or
removal of the Committee Appointee, the vacancy shall be filled by an individual proposed by
Liquidating Trustee after the Liquidating Trustee has filed and served a notice identifying the
proposed member of the Oversight Committee. If no objection is received within ten (10)
business days after the filing of the notice, the individual proposed by the Liquidating Trustee
shall become a member of the Oversight Committee; if an objection is received, the Bankruptcy
Court shall conduct a hearing with respect to the Trustee’s proposed appointment to the
Oversight Committee.


                                           ARTICLE IX
             Liquidating Trustee Selection, Removal, Replacement, and Compensation

        Section 9.01 Initial Liquidating Trustee. The Liquidating Trustee is appointed
effective as of the Effective Date. The initial trustee shall be the Liquidating Trustee.

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        Section 9.02 Term of Service. The Liquidating Trustee shall serve through the earlier
of the completion of the administration of the Trust Assets and the Liquidating Trust, including
the winding up of the Liquidating Trust, in accordance with this Agreement and the Plan, the
termination of the Liquidating Trust in accordance with the terms of this Agreement and the
Plan, or the Liquidating Trustee’s resignation, death, incapacity, or removal.

       Section 9.03 Removal of Liquidating Trustee. The Oversight Committee may remove
the Liquidating Trustee only for cause and pursuant to entry of an order of the Bankruptcy Court
after notice to all persons on the Bankruptcy Rule 2002 service list and an opportunity for
hearing.

       Section 9.04 Resignation of Liquidating Trustee. The Liquidating Trustee may resign
at any time on written notice to the Oversight Committee, Prepetition Agent, US Trustee, and
Bankruptcy Court. The resignation shall be effective on the later of (a) the date specified in the
notice of resignation, or (b) the date that is 60 days after the date such notice is filed with the
Bankruptcy Court and served on the Oversight Committee members and the US Trustee. In no
case shall the resignation of the Liquidating Trustee be effective on less than 60 days’ notice. In
the event of a resignation, the resigning Liquidating Trustee shall render to the Oversight
Committee and the US Trustee a full and complete accounting of monies and assets received,
disbursed, and held during the term of office of that Liquidating Trustee.

        Section 9.05 Appointment of Successor Liquidating Trustee. Upon the resignation,
death, incapacity, or removal of a Liquidating Trustee, the Prepetition Agent Appointee shall
identify two alternatives to serve as a successor Liquidating Trustee and the Committee
Appointee shall select one of such alternatives which shall be appointed as the successor
Liquidating Trustee without further order of the Bankruptcy Court with notice to all persons on
the Bankruptcy Rule 2002 service list. In the event the Prepetition Agent Appointee does not
identify any such alternatives, the Bankruptcy Court may do so on its own motion. Any
successor Liquidating Trustee so appointed shall consent to and accept its appointment as
successor Liquidating Trustee, which may be done by e-mail or through acquiescence in not
objecting to a motion for approval of its appointment as successor Liquidating Trustee, and
accept in writing the terms of this Agreement. Any successor Liquidating Trustee may be
appointed to serve only on an interim basis.

        Section 9.06 Powers and Duties of Successor Liquidating Trustee. A successor
Liquidating Trustee shall have all the rights, privileges, powers, and duties of its predecessor
under this Agreement, the Plan, and Confirmation Order. Notwithstanding anything to the
contrary herein, a removed or resigning Liquidating Trustee shall, when requested in writing by
the successor Liquidating Trustee, execute and deliver an instrument or, instruments conveying
and transferring to such successor Liquidating Trustee under the Liquidating Trust all the estates,
properties, rights, powers, and trusts of such predecessor Liquidating Trustee.

        Section 9.07 Trust Continuance. The resignation, death, incapacitation, dissolution,
liquidation, or removal of the Liquidating Trustee shall not terminate the Liquidating Trust or


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revoke any existing agency created pursuant to this Agreement or invalidate any action
theretofore taken by the Liquidating Trustee.

        Section 9.08 Compensation of Liquidating Trustee and Costs of Administration.
The Liquidating Trustee shall receive fair and reasonable compensation for its services, which
shall be a charge against, and paid out of, the Trust Assets. All costs, expenses, and obligations
incurred by the Liquidating Trustee (or professionals who may be employed by the Liquidating
Trustee in administering the Liquidating Trust, in carrying out their other responsibilities under
this Agreement, or in any manner connected, incidental, or related thereto) shall be paid by the
Liquidating Trust from the Trust Assets prior to any Distribution to the Liquidating Trust
Beneficiaries. The terms of the compensation of the Liquidating Trustee and the timing and
manner of payment are set forth on Exhibit A hereto.

        Section 9.09 Appointment of Supplemental Trustee. Subject to Article VIII, if the
Liquidating Trustee has a conflict or any of the Trust Assets are situated in any state or other
jurisdiction in which the Liquidating Trustee is not qualified to act as trustee, the Liquidating
Trustee shall nominate and appoint a Person duly qualified to act as trustee (the “Supplemental
Trustee”) in such state or jurisdiction and require from each such Supplemental Trustee such
security as may be designated by the Liquidating Trustee in its discretion. The Liquidating
Trustee may confer upon such Supplemental Trustee all of the rights, powers, privileges, and
duties of the Liquidating Trustee hereunder, subject to the conditions and limitations of this
Agreement, except as modified or limited by the laws of the applicable state or other jurisdiction
(in which case, the laws of the state or other jurisdiction in which such Supplemental Trustee is
acting shall prevail to the extent necessary). The Liquidating Trustee shall require such
Supplemental Trustee to be answerable to the Liquidating Trustee for all monies, assets, and
other property that may be received in connection with the administration of all the Trust Assets
by the Supplemental Trustee. Subject to Article VIII, the Liquidating Trustee may remove such
Supplemental Trustee, with or without cause, and appoint a successor Supplemental Trustee at
any time by executing a written instrument declaring such Supplemental Trustee removed from
office and specifying the effective date and time of removal.


                                         ARTICLE X
                                        Trust Duration

         Section 10.01 Duration. Once the Liquidating Trust becomes effective upon the
Effective Date of the Plan, the Liquidating Trust and this Agreement shall remain and continue
in full force and effect until the Liquidating Trust is terminated.

        Section 10.02 Termination on Payment of Trust Expenses and Distribution of Trust
Assets. Upon the payment of all costs, expenses, and obligations incurred in connection with
administering the Liquidating Trust, and the Distribution of all Trust Assets in accordance with
the provisions of the Plan, the Confirmation Order, and this Agreement, the Liquidating Trust
shall terminate and the Liquidating Trustee shall have no further responsibility in connection
therewith except as may be required to effectuate such termination under relevant law.

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       Section 10.03 Termination. If the Liquidating Trust has not been previously terminated
pursuant to Section 10.02 or the term of the Liquidated Trust is not extended pursuant to Section
10.04, on the fifth anniversary of the Effective Date, the Liquidating Trustee shall distribute all
of the Trust Assets to the Liquidating Trust Beneficiaries in accordance with the Plan, and
immediately thereafter the Liquidating Trust shall terminate and the Liquidating Trustee shall
have no further responsibility in connection therewith except to the limited extent set forth in
Section 10.06.

        Section 10.04 Extension. The term of the Liquidating Trust set forth in Section 10.3
may be extended if such extension is (i) for a finite period of time, (ii) preceded by the
Liquidating Trustee’s determination that the continued existence beyond such period would not
adversely affect the status of the Liquidating Trust as a liquidating trust within the meaning of
§ 301.7701-4(d) of the Treasury Regulations for U.S. federal income tax purposes, and (iii)
notice of such extension is provided to the Bankruptcy Court within two months of the beginning
of the extended term.

       Section 10.05 No Termination by Liquidating Trust Beneficiaries. The Liquidating
Trust may not be terminated at any time by the Liquidating Trust Beneficiaries.

        Section 10.06 Continuance of Trust for Winding Up; Discharge and Release of
Liquidating Trustee. After the termination of the Liquidating Trust and solely for the purpose
of liquidating and winding up the affairs of the Liquidating Trust, the Liquidating Trustee shall
continue to act as such until its responsibilities have been fully performed. Except as otherwise
specifically provided herein, upon the Distribution of the Trust Assets including all excess
reserves, the Oversight Committee members, the Liquidating Trustee, and the Liquidating
Trust’s professionals and agents shall be deemed discharged under this Agreement and have no
further duties or obligations hereunder. Upon a motion by the Liquidating Trustee, the
Bankruptcy Court may enter an order relieving the Oversight Committee members and the
Liquidating Trustee, its employees, and the Liquidating Trust’s professionals and agents of any
further duties, discharging and releasing the Liquidating Trustee from all liability related to the
Liquidating Trust, and releasing the Liquidating Trustee’s bond, if any.


                                          ARTICLE XI
                                          Miscellaneous

        Section 11.01 Preservation of Privilege. In connection with the rights, claims, and
causes of action that constitute Trust Assets, any attorney-client privilege, work-product
doctrine, or other privilege or immunity attaching to any documents or communications (whether
written or oral) transferred to the Liquidating Trust pursuant to the terms of the Plan or otherwise
shall vest in the Liquidating Trustee and his or her representatives, and the Liquidating Trustee is
authorized to take all necessary actions to effectuate the transfer of such privileges, as necessary.




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        Section 11.02 Cumulative Rights and Remedies. The rights and remedies provided in
this Agreement are cumulative and not exclusive of any rights and remedies under law or in
equity.

        Section 11.03 Notices. All notices to be given to Liquidating Trust Beneficiaries may be
given by ordinary mail, or may be delivered personally, to the holders at the addresses appearing
on the books kept by the Liquidating Trustee. Any notice or other communication which may be
or is required to be given, served, or sent pursuant to this Agreement or the Plan, shall be in
writing and shall be sent by registered or certified United States mail, return receipt requested,
postage prepaid, or transmitted by hand delivery or facsimile (if receipt is confirmed) addressed
as follows:

               (a)    If to the Liquidating Trust or the Liquidating Trustee:

                      Bradley Dietz
                      [ADDRESS]
                      [PHONE]
                      [E-mail]

               (b)    If to the Oversight Committee:

                      [NAME]
                      [ADDRESS]
                      [PHONE]
                      [E-mail]

               (c)    If to the Committee:

                      Jeffrey R. Waxman, Esquire
                      Eric J. Monzo, Esquire
                      MORRIS JAMES LLP
                      500 Delaware Avenue, Suite 1500
                      Wilmington, DE 19801
                      Telephone: (302) 888-6800
                      Facsimile: (302) 571-1750
                      E-mail: jwaxman@morrisjames.com
                              -and-
                      Adam C. Rogoff, Esquire
                      Rose Hill Bagley, Esquire
                      KRAMER LEVIN NAFTALIS & FRANKEL LLP
                      1177 Avenue of the Americas
                      New York, NY 10036
                      Telephone: (212) 715-9100



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                      E-mail: arogoff@kramerlevin.com
                      E-mail: rbagley@kramerlevin.com


               (d)    If to the Prepetition Agent:

                      Cerberus Business Finance, LLC
                      875 Third Avenue
                      New York, New York 10022
                      Attention: Joseph Naccarato
                      Telephone: 212-909-1455
                      E-mail: jnaccarato@cerberuscapital.com

                      with a copy to:

                      KTBS Law LLP
                      1801 Century Park East, 26th Floor
                      Los Angeles, CA 90067
                      Attention: Michael Tuchin & David Fidler
                      Telephone: (310) 407-4000
                      E-mail: mtuchin@ktbslaw.com
                      E-mail: dfidler@ktbslaw.com.

or to such other address as may from time to time be provided in written notice by the
Liquidating Trustee.
        Section 11.04 Governing Law. This Agreement shall be governed by and construed in
accordance with the laws of the State of New York, without giving effect to rules governing the
conflict of laws, including all matters of validity, construction and administration.

        Section 11.05 Third Party Beneficiaries.           Except for the Liquidating Trust
Beneficiaries, the Oversight Committee and the Indemnified Parties, nothing in this Agreement
is intended to confer upon any Person that is not a party hereto any rights or remedies hereunder;
provided, however, the Prepetition Agent and the Committee are each an express third party
beneficiary of this Agreement, and shall each be entitled to enforce the provisions of Article VIII
as if each were a party hereto.

        Section 11.06 Successors and Assigns. This Agreement shall inure to the benefit of and
shall be binding upon the parties hereto and their respective successors and assigns.

        Section 11.07 Execution. All funds in the Liquidating Trust shall be deemed in custodia
legis until such times as the funds have actually been paid to or for the benefit of a Liquidating
Trust Beneficiary, and no Liquidating Trust Beneficiary or any other Person can execute upon,
garnish or attach the Trust Assets or the Liquidating Trustee in any manner or compel payment
from the Liquidating Trust except by Final Order of the Bankruptcy Court. Payments will be
solely governed by the Plan and this Agreement.


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       Section 11.08 Amendment. This Agreement may be amended by written agreement of
the Liquidating Trustee and the Oversight Committee or by order of the Bankruptcy Court;
provided, however, that such amendment may not be inconsistent with the Plan, Confirmation
Order, or Sale Order.

       Section 11.09 No Waiver. No failure or delay of any party hereto, or any third party
beneficiary pursuant to Section 11.05, to exercise any right or remedy pursuant to this
Agreement shall affect such right or remedy or constitute a waiver thereof.

       Section 11.10 Severability. If any term, provision, covenant, or restriction contained in
this Agreement is held by a court of competent jurisdiction or other authority to be invalid, void,
unenforceable, or against its regulatory policy, the remainder of the terms, provisions, covenants,
and restrictions contained in this Agreement shall remain in full force and effect and shall in no
way be affected, impaired, or invalidated.

        Section 11.11 Further Assurances. Without limitation of the generality of Section 2.04,
the parties hereto agree to execute and deliver all such documents and notices and to take all
such further actions as may reasonably be required from time to time to carry out the intent and
purposes and provide for the full implementation of this Agreement and the pertinent provisions
of the Plan, and to consummate the transactions contemplated thereby.

        Section 11.12 Counterparts. This Agreement may be executed simultaneously in one or
more counterparts, each of which shall be deemed an original and all of which together shall
constitute one and the same instrument.

        Section 11.13 Retention of Jurisdiction. After the Effective Date and to the fullest
extent permitted by law, to the extent the Bankruptcy Court elects to exercise jurisdiction, the
Bankruptcy Court shall retain exclusive jurisdiction over (a) the Liquidating Trust, including the
performance of the duties of the Liquidating Trustee and in overseeing the Liquidating Trust, and
(b) the interpretation of this Agreement and all issues arising under or related to this Agreement.
If the Bankruptcy Court is without jurisdiction, any action to enforce or interpret this Agreement
will be brought in a court of competent jurisdiction in the State of Delaware in the County of
New Castle or of the United States District Court for the District of Delaware or, solely if the
foregoing courts are without jurisdiction, then any court of competent jurisdiction as may be
selected by the Liquidating Trustee.

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        IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date set
forth above.

                                                      DEBTORS:


                                                      [SL LIQUIDATION LLC (F/K/A STANADYNE
                                                      LLC)]4


                                                      By:___________________________________
                                                      Name:
                                                      Title:

                                                      [TPP LIQUIDATION , INC. (F/K/A PURE
                                                      POWER TECHNOLOGIES, INC.)]5


                                                      By:___________________________________
                                                      Name:
                                                      Title:

                                                      HTPPS LIQUIDATION, INC. (F/K/A
                                                      STANADYNE PPT HOLDINGS, INC.)


                                                      By:___________________________________
                                                      Name:
                                                      Title:

                                                      HGTPPS LIQUIDATION, INC. (F/K/A
                                                      STANADYNE PPT GROUP HOLDINGS, INC.)


                                                      By:___________________________________
                                                      Name:
                                                      Title:




4
    NTD: Confirm if name changed has occurred at the time of execution.
5
    NTD: Confirm if name changed has occurred at the time of execution.


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                                       THE OFFICIAL COMMITTEE OF
                                       UNSECURED CREDITORS

                                       By:___________________________________
                                       Name:
                                       Title: Member

                                       LIQUIDATING TRUSTEE:


                                       By:___________________________________
                                          Bradley Dietz, solely in his capacity as
                                          Liquidating Trustee under this Agreement




                   [SIGNATURE PAGE TO LIQUIDATING TRUST AGREEMENT]
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                                              EXHIBIT A
                         Terms of Compensation of Liquidating Trustee

    •    Compensation. In consideration for the services of the Liquidating Trustee under this
         Agreement, the Liquidating Trustee shall receive the following compensation from the
         Trust Assets: (a) $20,000 per quarter, payable in arrears on the last day of each calendar
         quarter, (b) cash in an amount equal to 1.5% of the net proceeds of the Liquidating Trust
         litigation recoveries, payable in arrears on the last day of each calendar quarter, and (c)
         reimbursement of documented and reasonable out-of-pocket costs and expenses in
         connection with administering the Liquidating Trust pursuant to the Plan, the
         Confirmation Order and this Agreement.

    •    Payment of Fees. The Liquidating Trustee’s fees and reimbursable expenses under the
         above paragraph, shall be payable out of the Trust Assets beginning on the Effective Date
         and continuing thereafter until the Liquidating Trustee is discharged.

    •    Means and Timing of Payment. The Liquidating Trustee’s fees shall be paid in arrears by
         wire transfer or equivalent electronic means in the Liquidating Trustee’s discretion on the
         last day of each calendar quarter, or if such day is not a business day, the immediately
         preceding business day.




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